          Case 2:23-bk-10990-SK                  Doc 494 Filed 11/17/23 Entered 11/17/23 17:59:02                                        Desc
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 Attorney or Party Name, Address, Telephone & FAX                            FOR COURT USE ONLY
 Nos., State Bar No. & Email Address
Jeffrey W. Dulberg (CA State Bar No. 181200)
Jeffrey P. Nolan (CA State Bar No. 158923)
PACHULSKI STANG ZIEHL & JONES LLP
10100 Santa Monica Blvd., 13th Floor
Los Angeles, CA 90067
Telephone: (310) 277-6910; Facsimile: (310) 201-0760
Email: jdulberg@pszjlaw.com, jnolan@pszjlaw.com




      Debtor(s) appearing without an attorney
      Attorney for: Bradley Sharp, Chapter 11 Trustee

                                        UNITED STATES BANKRUPTCY COURT
                            CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION
                                                                               DIVISION

 In re:                                                                      CASE NO.: 2:23-bk-10990-SK
                                                                             CHAPTER: 11

LESLIE KLEIN,
                                                                                        NOTICE OF OPPORTUNITY TO
                                                                                      REQUEST A HEARING ON MOTION

                                                                                                      [LBR 9013-1(o)]


                                                                                          [No hearing unless requested in writing]
                                                              Debtor(s).

TO THE U.S. TRUSTEE AND ALL PARTIES ENTITLED TO NOTICE, PLEASE TAKE NOTICE THAT:

               Bradley D. Sharp, Chapter 11 Trustee for the Estate of Leslie Klein
1. Movant(s) ____________________________________________________________________________________,
                                                   Motion of Chapter 11 Trustee for Order Authorizing the Examination of
   filed a motion or application (Motion) entitled _________________________________________________________
   JP Morgan Chase N.A. and Chase Bank Pursuant to Fed. R. Bank P. 2004, Memorandum of P& A,...
   _____________________________________________________________________________________________.

2. Movant(s) is requesting that the court grant the Motion without a hearing as provided for in LBR 9013-1(o), unless a
   party in interest timely files and serves a written opposition to the Motion and requests a hearing.

3. The Motion is based upon the legal and factual grounds set forth in the Motion. (Check appropriate box below):
          The full Motion is attached to this notice; or
                                                                      493 and a detailed description of the relief sought is
          The full Motion was filed with the court as docket entry # _____,
          attached to this notice.

4. DEADLINE FOR FILING AND SERVING OPPOSITION PAPERS AND REQUEST FOR A HEARING: Pursuant to
   LBR 9013-1(o), any party who opposes the Motion may request a hearing on the Motion. The deadline to file and serve
   a written opposition and request for a hearing is 14 days after the date of service of this notice, plus 3 additional days if
   you were served by mail or pursuant to F.R.Civ.P. 5(b)(2)(D) or (F).


          This form is optional. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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    a. If you timely file and serve a written opposition and request for a hearing, movant will file and serve a notice of
       hearing at least 14 days in advance of the hearing. [LBR 9013-1(o)(4)]

    b. If you fail to comply with this deadline:

        (1) Movant will file a declaration to indicate: (1) the Motion was properly served, (2) the response period elapsed,
            and (3) no party filed and served a written opposition and request for a hearing within 14 days after the date
            of service of the notice [LBR 9013-1(o)(3)];
        (2) Movant will lodge an order that the court may use to grant the Motion; and
        (3) The court may treat your failure as a waiver of your right to oppose the Motion and may grant the Motion
            without further hearing and notice. [LBR 9013-1(h)]




                                                                      Respectfully submitted,



Date: 11/17/2023                                                      /s/ Jeffrey P. Nolan                                               .
                                                                      Signature of Movant or attorney for Movant

                                                                      Jeffrey P. Nolan                                                   .
                                                                      Printed name of Movant or attorney for Movant




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Attachment (Detailed description of relief sought):

The Motion seeks the production of records maintained by third-party financial institutions memorializing the
facts surrounding the business and financial dealings of the Debtor. Numerous former clients of the Debtor
have filed complaints in which they allege monies were improperly diverted by the Debtor. The Debtor has
indicated he maintained no hard copies of financial records and minimal personal or business records, if any.




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DOCS_LA:351843.1 78512/001
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                                        PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:



A true and correct copy of the foregoing document entitled: NOTICE OF OPPORTUNITY TO REQUEST A HEARING ON
MOTION [LBR 9013-1(o)] will be served or was served (a) on the judge in chambers in the form and manner required by
LBR 5005-2(d); and (b) in the manner stated below:


1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
11/17/2023 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:




                                                                                           Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 11/17/2023 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.




                                                                                           Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) 11/17/2023 , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                           Service information continued on attached page


I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


 11/17/2023         Rolanda Mori                                                       /s/ Rolanda Mori
 Date                      Printed Name                                                       Signature




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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

    •    Simon Aron saron@wrslawyers.com, moster@wrslawyers.com
    •    Reem J Bello rbello@goeforlaw.com, kmurphy@goeforlaw.com
    •    Ron Bender rb@lnbyg.com
    •    Michael Jay Berger michael.berger@bankruptcypower.com,
         yathida.nipha@bankruptcypower.com;michael.berger@ecf.inforuptcy.com
    •    Greg P Campbell ch11ecf@aldridgepite.com, gc@ecf.inforuptcy.com;gcampbell@aldridgepite.com
    •    Baruch C Cohen bcc@BaruchCohenEsq.com, paralegal@baruchcohenesq.com
    •    Theron S Covey tcovey@raslg.com, sferry@raslg.com
    •    Jeffrey W Dulberg jdulberg@pszjlaw.com
    •    Dane W Exnowski dane.exnowski@mccalla.com, bk.ca@mccalla.com,mccallaecf@ecf.courtdrive.com
    •    Robert P Goe kmurphy@goeforlaw.com, rgoe@goeforlaw.com;goeforecf@gmail.com
    •    Michael I. Gottfried mgottfried@elkinskalt.com,
         cavila@elkinskalt.com,lwageman@elkinskalt.com,docketing@elkinskalt.com
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    •    Michael S Kogan mkogan@koganlawfirm.com
    •    Marc A Lieberman marc.lieberman@flpllp.com, safa.saleem@flpllp.com,addy@flpllp.com
    •    John W Lucas jlucas@pszjlaw.com, ocarpio@pszjlaw.com
    •    Ron Maroko ron.maroko@usdoj.gov
    •    Kirsten Martinez Kirsten.Martinez@bonialpc.com, Notices.Bonial@ecf.courtdrive.com
    •    Steven M Mayer smayer@mayerlawla.com
    •    Christopher M McDermott ch11ecf@aldridgepite.com,
         CMM@ecf.inforuptcy.com;cmcdermott@aldridgepite.com
    •    Krikor J Meshefejian kjm@lnbyg.com
    •    Kenneth Misken Kenneth.M.Misken@usdoj.gov
    •    Jeffrey P Nolan jnolan@pszjlaw.com
    •    Eric J Olson eric@ejolsonlaw.com
    •    Jeffrey N Pomerantz jpomerantz@pszjlaw.com
    •    Brian A Procel bprocel@millerbarondess.com, rdankwa@millerbarondess.com;docket@millerbarondess.com
    •    Joshua L Scheer jscheer@scheerlawgroup.com, jscheer@ecf.courtdrive.com
    •    Mark M Sharf (TR) mark@sharflaw.com,
         C188@ecfcbis.com;sharf1000@gmail.com;2180473420@filings.docketbird.com
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    •    Richard P Steelman rps@lnbyg.com, john@lnbyb.com
    •    Nikko Salvatore Stevens nikko@cym.law, mandi@cym.law
    •    Alan G Tippie Alan.Tippie@gmlaw.com,
         atippie@ecf.courtdrive.com;Karen.Files@gmlaw.com,patricia.dillamar@gmlaw.com,denise.walker@gmlaw.co
         m
    •    Gary Tokumori gtokumori@pmcos.com
    •    United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
    •    Michael L Wachtell mwachtell@buchalter.com
    •    John P. Ward jward@attleseystorm.com, ezhang@attleseystorm.com
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    •    Alex M Weingarten aweingarten@willkie.com, lcarter@willkie.com
    •    Clarisse Young youngshumaker@smcounsel.com, levern@smcounsel.com
    •    Paul P Young paul@cym.law, jaclyn@cym.law
    •    Roye Zur rzur@elkinskalt.com,
         cavila@elkinskalt.com;lwageman@elkinskalt.com;1648609420@filings.docketbird.com



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June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
LA:4858-4011-3809.1 78512.001
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2. SERVED BY UNITED STATES MAIL:

Agent for Service of Process:
JPMorgan Chase Bank, Chase Bank, N.A.
CT Corporation Systems
111 8th Ave, 13th Floor
New York, NY 10011

National Subpoena Processing
JPMorgan Chase Bank, N.A.
Mail Code LA4-7300
700 Kansas Lane
Monroe, LA 71203 USA


3.       SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR
         EMAIL

Via Overnight Mail
Honorable Sandra Klein
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1582 / Courtroom 1575
Los Angeles, CA 90012

Via Email
Nathan Talei, Esq.
ntalei@oclslaw.com




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